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                                 DENIED BY ORDER OF THE COURT
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5                                  UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
6

7    UNITED STATES OF AMERICA,                      )
                                                    )
8                           Plaintiff,              )
                                                    )       CASE NO. 2:24-CR-00091-ODW
9    v.                                             )
                                                    )
10
     ALEXANDER SMIRNOV,                             )
11                                                  )
                       Defendant,                   )       ORDER DENYING REQUEST
12   _______________________________                )

13          The Court has read and considered Defendant’s Ex Parte Motion for (1) Continuance of
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     Trial Date and (2) Findings of Excludable Time Periods Pursuant to Speedy Trial Act, which
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     Defendant filed on September 26, 2024. The Court has also considered the government’s
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     opposition.
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            The Court hereby finds that the Ex Parte Motion, which this Court incorporates by
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19   reference into this Order, demonstrates facts that support a continuance of the trial date in this

20   matter from December 3, 2024 to April 1, 2025, and provides good cause for a finding of
21   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
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            The Court further finds that: (i) the ends of justice served by the continuance outweigh the
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     best interest of the public and defendant in a speedy trial; (ii) failure to grant the continuance would
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     be likely to make a continuation of the proceeding impossible, or result in a miscarriage of justice;
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26   and (iii) failure to grant the continuance would unreasonably deny defendant continuity of counsel

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1    and would deny defense counsel the reasonable time necessary for effective preparation, taking
2    into account the exercise of due diligence.
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            Additionally, and for the reasons stated in the Ex Parte Motion, the Court finds that certain
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     periods of time should be excluded under 18 U.S.C. § 3161(h)(1), pertaining to the transfer of this
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     case and the transport of the Defendant to this District, as well as the specific factual circumstances
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7    presented by this case.

8           THEREFORE, NO GOOD CAUSE SHOWN:

9           THE COURT DENIES THE REQUEST TO CONTINUE THE TRIAL
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            IT IS SO ORDERED.
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13
            October 15, 2024                           DENIED BY ORDER OF THE COURT___
14
            DATE                                        HONORABLE OTIS D. WRIGHT II
15                                                      UNITED STATES DISTRICT JUDGE

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